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Arnold B. Calmann (abc@saiber.com)
Jakob B. Halpern Gbh@saiber.com)
SAIBER LLC

One Gateway Center

10th Floor, Suite 1000

Newark, New Jersey 07102

Tel.: 973.622.3333

Fax: 973.286.2465

Kevin P.B. Johnson (kevinjohnson@quinnemanuel.com)
Victoria F. Maroulis (victoriamaroulis@quinnemanuel.com)
QUINN EMANUEL URQUHART
& SULLIVAN LLP
555 Twin Dolphin Dr., 5th Floor
Redwood Shores, California 94065
Tel.: (650) 801-5000
Fax: (650) 801-5100

Attorneys for Plaintiff
JUUL LABS, INC.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JUUL LABS, INC., Civil Action No. 19-8405 (JMV) (MF)
Plaintiff,
v. DECLARATION OF KEVIN
COOKE IN SUPPORT OF JUUL
EONSMOKE, LLC, LABS’ MOTION TO SEAL
ZLAB S.A.,
ZIIP LAB CO., LTD.,
SHENZHEN YIBO TECHNOLOGY CO., Document Filed Electronically
LTD., and
JOHN DOES 1-50,
Defendants.

 

 

 
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I, Kevin Cooke, hereby declare as follows:

1. I am the Senior Vice-President of U.S. Commercial Sales at Plaintiff Juul Labs,
Inc. (“Juul Labs”).

2. I submit this declaration in support of Juul Labs’ Motion to Seal portions of the
Declaration of Timothy Danaher, Exhibit 1 to the Declaration of Timothy Danaher, portions of
the Declaration of Michael Walter, Exhibit 1 to the Declaration of Michael Walter, and Exhibit 2
to the Declaration of Michael Walter, which were filed under temporary seal.

3. I have personal knowledge of the facts set forth herein or believe such facts to be
true based upon personal knowledge of information provided by knowledgeable persons who
work with me at Juul Labs.

4. This case concerns a design patent infringement dispute between Juul Labs and
the Defendants listed above.

5. Juul Labs competes with others in connection with the development and sale of
electronic delivery systems (“ENDS”) in both domestic and foreign markets.

6. Juul Labs has spent substantial time and resources developing and maintaining its
trade secrets and other proprietary information related to its ENDS products.

7. Juul Labs’ development and maintenance of its trade secrets and proprietary
information related to these ENDS products is ongoing.

8. Juul Labs’ trade secrets and proprietary information related to its ENDS products,
and that of its vendors, are highly confidential. Examples of such trade secrets and proprietary
information include information relating to the research and development of Juul Labs’ ENDS
products, Juul Labs’ financial information, Juul Labs’ research into its market position and that

of its competitors (including third party data regarding Juul Lab’s market position provided to

 
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Juul Labs on a confidential basis), and independent behavioral research studies commissioned by
Juul Labs regarding the perception of Juul Lab’s products.

9. All such trade secrets and proprietary information is, and always has been,
maintained by Juul Labs as confidential and secret.

10. If Juul Labs’ trade secrets and proprietary information were to become available
to the public or Juul Labs’ competitors, Juul Labs would suffer serious commercial harm or
disadvantage. Specifically, the disclosure of trade secrets or proprietary information, including
the types of information contained in paragraph 8, would allow third parties, including but not
limited to Juul Labs’ current and potential competitors, trading partners, vendors, suppliers, and
purchasers, to take advantage of the knowledge to Juul Labs’ disadvantage regarding its
competitive standing and activities in the marketplace and commercial relationships.

11. Attached to Juul Labs’ Notice of Motion as Exhibit 1 is an Index containing the
information that Juul Labs’ seeks to seal and the information required under Local Civil Rule
5.3(c)(3).

12. Accordingly, it is respectfully requested that the Court protect Juul Labs’ trade
secret and proprietary information and grant Juul Labs’ request to retain certain information

under seal presented in the Motion to Seal.

I declare under penalty of perjury that the foregoing is true and correct. Executed on this

22 day of April 2019.

Kevin Cooke
